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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                            CASE NUMBER:
   HEREDIA BOXING MANAGEMENT, INC., et al.
                                                               5:20−cv−02618−JWH−KK
                                        PLAINTIFF(S)

                             v.

   MTK GLOBAL SPORTS MANAGEMENT, LLC, et
   al.
                                                                           DEFAULT BY CLERK
                                                                             F.R.Civ.P. 55(a)
                                     DEFENDANT(S).




        It appearing from the records in the above−entitled action that summons has been served upon the
   defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
   evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
   defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

        Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
   hereby entered:

     MTK Global USA, LLC




                                                          Clerk, U.S. District Court

     December 20, 2022                                    By /s/ Yvette Louis
   Date                                                   Deputy Clerk

   CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
